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 8              IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,        )     1:04-cr-05362 AWI
                                      )
12                   Plaintiff,       )
                                      )     ORDER ON STATE OF CALIFORNIA
13        v.                          )     WRIT FOR HABAES CORPUS AD
                                      )     PROSEQUENDUM
14   ANDREW VALENZUELA,               )
                                      )
15                   Defendant.       )
                                      )
16

17        On September 20, 2005, the Honorable Ralph Nunez, Superior

18   Court Judge for the State of California, County of Fresno,

19   requested that the body of the above-named defendant be produced

20   in Fresno County Superior Court for the preliminary hearing in the

21   case of People v. Andrew Valenzuela, et al., Fresno County

22   Superior Court case number F05906382-7.        The preliminary hearing

23   on October 20, 2005 resulted in defendant Valenzuela being held to

24   answer on the charges in the complaint.        His arraignment on the

25   Information is scheduled for November 7, 2005 at 8:30 a.m. in

26   Department 95 of the Fresno County Superior Court.          The defendant

27   is currently in the custody of the United States Marshal, charged

28   in the above-entitled action.        It appearing that the defendant's

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 1   presence is needed in the state action, and that the next court

 2   appearance in the above-entitled case is November 21, 2005;

 3            IT IS HEREBY ORDERED that deputies of the Fresno County

 4   Sheriff's Office may take custody of the defendant on November 7,

 5   2005 pursuant to the terms of the writ, attached hereto, and

 6   return him to the custody of the United States Marshal immediately

 7   after his preliminary hearing and no later than November 8, 2005.

 8            IT IS FURTHER ORDERED that the defendant not be transported

 9   to State Prison prior to being returned to the custody of the

10   United States Marshal.

11   IT IS SO ORDERED.

12   Dated:     October 25, 2005           /s/ Lawrence J. O'Neill
     b9ed48                          UNITED STATES MAGISTRATE JUDGE
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